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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 ANTONIA RODRIGUEZ AND,             §
 DANNY RODRIGUEZ                    §
     Plaintiffs,                    §
                                    §
 v.                                 §                   CIVIL ACTION NO. 4:22-CV-00506-
                                    §                   ALM_CAN
                                    §
 LEHMAN XS TRUST MORTGAGE           §
 PASS-THROUGH CERTIFICATES,         §
 SERIES 2006-19, U.S. BANK NATIONAL §
 ASSOCIATION, AS TRUSTEE,           §
 SUCCESSOR IN INTEREST TO           §
 WILMINGTON TRUST COMPANY, AS §
 TRUSTEE, SUCCESSOR IN INTEREST §
 TO BANK OF AMERICA NATIONAL        §
 ASSOCATION, AS TRUSTEE,            §
 SUCCESSOR BY MERGER TO LASALLE §
 BANK NATIONAL ASSOCATION,          §
 AS TRUSTEE AND NATIONSTAR          §
 MORTGAGE LLC /D/B/A MR. COOPER §
 Defendants.                        §


                          UNOPPOSED MOTION TO WITHDRAW
                     CHRISTOPHER WEST AS COUNSEL FOR PLAINTIFF


 TO THE HONORABLE COURT:

        Robert C. Lane, Joshua D. Gordon, and The Lane Law Firm, P.L.L.C. (“Movants”) ask this Court’s

 permission to withdraw Christopher C. West as Counsel for Antonia Rodriguez and Danny Rodriguez

 (“Plaintiffs”). This Motion only encompasses Christopher C. West, previously employed with The Lane

 Law Firm, P.L.L.C., and in support thereof would show the following:

 1.     Defendants are Lehman XS Trust Mortgage Pass-Through Certificates, Series 2006-19, U.S.

        Bank National Association, as Trustee, Successor in Interest to Wilmington Trust

        Company, as Trustee, Successor In Interest to Bank of America National Association, as


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         Trustee, Successor by Merger to LaSalle Bank National Association, as Trustee and

         Nationstar Mortgage d/b/a Mr. Cooper (“Defendants”).

 2.      Plaintiffs are Antonia Rodriguez and Danny Rodriguez (“Plaintiffs”).

 3.      Christopher C. West previously was employed as an attorney with The Lane Law Firm, P.L.L.C.

 4.      Christopher C. West is no longer employed with The Lane Law Firm. Therefore, he can no longer

         represent clients of The Lane Law Firm and should be withdrawn from this lawsuit.

 5.      Movants continue to represent Plaintiffs.

 6.      This motion will not delay the prosecution of this case.

         WHEREFORE, PREMISES CONSIDERED, Robert C. Lane, Joshua D. Gordon, and The Lane

 Law Firm, P.L.L.C. ask that this Court grant this Unopposed Motion to Withdraw Christopher C. West as

 Counsel for Plaintiffs.

 Respectfully submitted this 21st day of September 2022,

                                                           THE LANE LAW FIRM, PLLC

                                                           By: /s/ Joshua D. Gordon
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                                                           ATTORNEYS FOR PLAINTIFF




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                          CERTIFICATE OF CONFERENCE

           I hereby certify that on September13, 2022, I conferred with counsel for Defendants
   regarding this Motion. The Motion is unopposed.


                                                       /s/ Joshua D. Gordon
                                                       Joshua D. Gordon


                                 CERTIFICATE OF SERVICE

          I hereby certify that on September 21, 2022, a copy of the foregoing was served via the
   Court’selectronic filing system as follows:

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